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 8                        IN THE UNITED STATES DISTRICT COURT

 9                            EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                  2:10-CR-00223-JAM
12               Plaintiff,                     STIPULATION AND APPLICATION FOR
                                                A MONEY JUDGMENT; ORDER
13         v.
14   HODA SAMUEL,
15               Defendant.
16

17         The United States and defendant Hoda Samuel stipulate to the entry of a Money

18 Judgment based on the Application of the United States, as set forth below:

19         1. The Indictment in this case charges defendant Hoda Samuel with Conspiracy to

20 Commit Mail Fraud and Make False Statements in Mortgage Applications, and Mail

21 Fraud in violation of 18 U.S.C. § 371 and 1341. The Indictment included a forfeiture

22 allegation. A Bill of Particulars was filed on January 4, 2013, seeking a personal

23 forfeiture money judgment in the amount of $5,949,000.

24         2. On January 22, 2013, defendant Hoda Samuel was found guilty of Count One

25 which charges her with Conspiracy to Commit Mail Fraud and Make False Statements in

26 Mortgage Applications in violation of 18 U.S.C. § 371, and Counts Two through Thirty-

27 One which charges her with Mail Fraud in violation of 18 U.S.C. § 1341.

28         3. Defendant Hoda Samuel stipulates and agrees to forfeit voluntarily and
                                              1
                                                                       Stipulation and Application for
                                                                       a Money Judgment; Order
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 1 immediately $250,000, as a personal money judgment pursuant to Fed. R. Crim. P.

 2 32.2(b)(1), which reflects a reasonable compromise between the parties for forfeiture

 3 purposes concerning the proceeds the defendant obtained as a result of violations of 18

 4 U.S.C. §§ 371 and 1341, to which she has been found guilty.

 5        4. The government hereby applies for entry of a money judgment as follows:

 6               a. Pursuant to 18 U.S.C. § 982(a)(2)(A) and Fed. R. Crim. P. 32.2(b)(1), the

 7 Court shall impose a personal forfeiture money judgment against defendant Hoda Samuel

 8 in the amount of $250,000.

 9               b. The above-referenced personal forfeiture money judgment is imposed based

10 on defendant Hoda Samuel’s conviction for violating 18 U.S.C. §§ 371 and 1341. Said

11 amount reflects a reasonable compromise between the parties for forfeiture purposes

12 concerning the proceeds the defendant obtained, which the defendant agrees is subject to

13 forfeiture based on the offenses of conviction. Any funds applied towards such judgment

14 shall be forfeited to the United States of America and disposed of as provided for by law.

15        5. Payment of the personal forfeiture money judgment should be made in the form

16 of a cashier’s check made payable to the U.S. Department of the Treasury and sent to the

17 U.S. Attorney’s Office, Att: Asset Forfeiture Unit, 501 I Street, Suite 10-100, Sacramento,

18 CA 95814. An initial payment of $20,000 is due on or before April 30, 2013. The

19 remaining $230,000 shall be paid in $1,500 monthly payments due by the 5th of each

20 month starting on May 5, 2013, while defendant Hoda Samuel is out of custody, and will

21 resume once she is released from custody until paid in full. Prior to the imposition of

22 sentence, any funds delivered to the United States to satisfy the personal money judgment

23 shall be seized and held by the Internal Revenue Service, Criminal Investigation in its

24 secure custody and control.

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 1        6. This stipulation is not an admission of liability or guilt and in no way restricts or

 2 affects defendant Samuel’s right to appeal the judgment or sentence in her criminal case.

 3 Dated: 3/18/13                                 BENJAMIN B. WAGNER
                                                  United States Attorney
 4

 5                                                /s/ Kevin C. Khasigian
                                                  KEVIN C. KHASIGIAN
 6                                                Assistant U.S. Attorney
 7
     DATED: 3/18/2013                             /s/ Hoda Samuel
 8                                                HODA SAMUEL
                                                  Defendant
 9

10
     DATED: 3/18/2013                             /s/ Scott L. Tedmon
11                                                SCOTT L. TEDMON
                                                  Attorney for Defendant
12                                                (Original signatures retained by attorney)
13

14                                            ORDER

15        For good cause shown, the Court hereby imposes a personal forfeiture money

16 judgment against defendant Hoda Samuel in the amount of $250,000. An initial payment

17 of $20,000 is due on or before April 30, 2013. The remaining $230,000 shall be paid in

18 $1,500 monthly payments due by the 5th of each month starting on May 5, 2013, while

19 defendant Hoda Samuel is out of custody, and will resume once she is released from

20 custody until paid in full.

21        Any funds applied towards such judgment shall be forfeited to the United States of

22 America and disposed of as provided for by law. Prior to the imposition of sentence, any

23 funds delivered to the United States to satisfy the personal money judgment shall be

24 seized and held by the Internal Revenue Service, Criminal Investigation, in its secure

25 custody and control.

26        IT IS SO ORDERED.

27 DATED: 3/20/2013                                /s/ John A. Mendez_______________
                                                   JOHN A. MENDEZ
28                                                 United States District Court Judge
                                                  3
                                                                          Stipulation and Application for
                                                                          a Money Judgment; Order
